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Fill in this information to identify your case:

Debtor 1 Sally Loraine Smith

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Northern District of Texas

Case Number 21-40914

(If known)

 

 

 

Official Form 427
Cover Sheet for Reaffirmation Aqreement 12/15

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008.

Explain the Repayment Terms of the Reaffirmation Agreement

1. Who is the Creditor? Bank of America, N.A.
Name of the creditor

 

2. How much is the debt?
On the date that the bankruptcy case is filed $102,496.92

To be paid under the reaffirmation agreement $102,727.98

. . plus any balloon or deferred payment due per the
$1,495.36 per month for 138 months (if fixed interest rate) terms of the note (if applicable).

 

3. What is the Annual
Percentage Rate (APR) Before the bankruptcy case was filed 3.539 %
of interest? (See Se

Bankruptcy Code 5 3.539 % Fixed Rate
§ 524(k)(3)(E).) Under the reaffirmation agreement -_—O a

[2] Adjustable Rate

 

4. Does collateral secure OO No

the debt? MI Yes. Describe the collateral. 1300 Stone Creek Dr_Mansfield, TX 76063-6237

 

Current market value $220,762.00

 

5. Does the creditor assert [J No

that the debt is (C Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is non-dischargeable.
non-dischargeable?

 

Income and expenses reported on Schedules | and J Income and expenses stated on the reaffirmation agreement

6. Using information from S a7 Y , ay
Schedule I: Yourincome —_‘_6a. Combined monthly income from $ 6e. Monthly income from all sources $ ‘

(Official Form 1061) and line 12 of Schedule | after payroll deductions
Schedule J: Your a Se / 27 Ce © a
Expenses (Official Form 6b. Monthly expenses from line 22c of $ Of, 6f. Monthly expenses $
106J), fill in the amounts. Schedule J
°° 0°
6c. Monthly payments on all $_\. 6g. Monthly payments on all $i“e
reaffirmed debts not listed on reaffirmed debts not included in
Schedule J

’ monthly expenses
12,97 fat"
6d. Scheduled net monthly income $ ! 6h. Present net monthly income $ u

Subtract lines 6b and 6c from 6a. Subtract lines 6f and 6g from 6e.

If the total is less than 0, put the If the total is less than 0, put the
number in brackets. number in brackets.

 

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement Page 1
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Debtor 1 Sally Loraine Smith Case Number (ifknown) 2141-40914

First Name Middle Name Last Name

 

7. Are the income amounts YE.No

 

 

 

on lines 6a and 6e 0 Yes. Explain why they are different and complete line 10.
different?

8. Are the expense DX No
amounts on lines 6b Yes. Explain why they are different and complete line 10.

 

and 6f different?

 

 

9. Is the net monthly ne

income in line 6h less Yes. A presumption of hardship arises (unless the creditor is a credit union).
than 0? Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.
Complete line 10.

 

 

 

10. Debtor's certification | certify that each explanation on lines 7-9 is true and correct.
about lines 7-9

If any answer on lines 7-9 is
Yes, the debtor must sign
here. x x

 

Signature of Debtor 1 Signature of Debtor

If all the answers on lines 7-9
are No, go to line 11.

 

the debtor in negotiating es. Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
the reaffirmation 0 No
agreement? Ves

11. Did an attorney represent os
¥

 

[ETE Sion Here

 

Whoever fills out this form —_| certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the

must sign here. parties identified on this Cover Sheet for Reaffirmation Agreement.
ce
LD /d- 2 7- ptf
opt Date
MMIDDIYYYY

Sj§nature { 7

    
 

Check one:
0 Debtor or Debtor's Attorney
B® Creditor or Creditor's Attorney

 

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement Page 2
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B2400A/B ALT (Form 2400A/B ALT) (12/15)

 

(1 Presumption of Undue Hardship
No Presumption of Undue Hardship

(Check box as directed in Part D: Debtor’s
Statement in Support of Reaffirmation Agreement.)

 

 

 

UNITED STATES BANKRUPTCY COURT
Northern District of Texas (Ft. Worth)

Inre: Sally Loraine Smith Case No. 2140914
Debtor (s) Chapter: 07

 

REAFFIRMATION AGREEMENT

ndicate all documents included in this filing by checking each applicable hox.]

Part A: Disclosures, Instructions, Part D: Part D: Debtor’s Statement in,
and Notice to Debtor (pages 1 - 5) Support of Reaffirmation Agreement
[x] Part B: Reaffirmation Agreement (1) Part E: Motion for Court Approval

8 Part C: Certification by Debtor’s Attorney
[Note: Complete Part E only if debtor was not represented by an attorney during

the course of negotiating this agreement. Note alse: If you complete Part E, you must
prepare and file Form 2400C ALT - Order on Reaffirmation Agreement.]

Name of Creditor: Bank of America, N.A.

[Check this box if] Creditor is a Credit Union as defined in §19(b)(1)(a)(iv) of the
Federal Reserve Act

PART A: DISCLOSURE STATEMENT, INSTRUCTIONS AND NOTICE TO DEBTOR

1. DISCLOSURE STATEMENT

Before Agreeing to Reaffirm a Debt, Review These Important Disclosures:

SUMMARY OF REAFFIRMATION AGREEMENT

This Summary is made pursuant to the requirements of the Bankruptcy Code.

AMOUNT REAFFIRMED

The amount of debt you have agreed to reaffirm: $102,727.98

The amount of debt you have agreed to reaffirm includes all fees and costs (if any) that have
accrued as of the date of this disclosure. Your credit agreement may obligate you to pay additional
amounts which may come due after the date of this disclosure. Consult your credit agreement.
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ANNUAL PERCENTAGE RATE

[The annual percentage rate can be disclosed in different ways, depending on the type of debt.]

a. If the debt is an extension of “credit” under an “open end credit plan,” as those terms are
defined in § 103 of the Truth in Lending Act, such as a credit card, the creditor may disclose the
annual percentage rate shown in (i) below or, to the extent this rate is not readily available or not
applicable, the simple interest rate shown in (ii) below, or both.

(i) The Annual Percentage Rate disclosed, or that would have been disclosed, to
the debtor in the most recent periodic statement prior to entering into the
reaffirmation agreement described in Part B below or, if no such periodic
statement was given to the debtor during the prior six months, the annual
percentage rate as it would have been so disclosed at the time of the disclosure
statement: %.

--- And/Or ---

(i1) The simple interest rate applicable to the amount reaffirmed as of the date
this disclosure statement is given to the debtor: %. If different

simple interest rates apply to different balances included in the amount
reaffirmed, the amount of each balance and the rate applicable to it are:

 

 

$ @ %;
$ @ %;
$ @ %;

 

b. If the debt is an extension of credit other than under than an open end credit plan, the
creditor may disclose the annual percentage rate shown in (I) below, or, to the extent this rate is not
readily available or not applicable, the simple interest rate shown in (ii) below, or both.

(1) The Annual Percentage Rate under §128(a)(4) of the Truth in Lending Act, as disclosed
to the debtor in the most recent disclosure statement given to the debtor prior to entering
into the reaffirmation agreement with respect to the debt or, if no such disclosure statement

was given to the debtor, the annual percentage rate as it would have been so disclosed:
3.539%.

--- And/Or ---

(ii) The simple interest rate applicable to the amount reaffirmed as of the date
this disclosure statement is given to the debtor: %. If different

simple interest rates apply to different balances included in the amount
reaffirmed, the amount of each balance and the rate applicable to it are:
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c. If the underlying debt transaction was disclosed as a variable rate transaction on the
most recent disclosure given under the Truth in Lending Act:

The interest rate on your loan may be a variable interest rate which changes from
time to time, so that the annual percentage rate disclosed here may be higher or
lower.

d. If the reaffirmed debt is secured by a security interest or lien, which has not been
waived or determined to be void by a final order of the court, the following items or types of
items of the debtor’s goods or property remain subject to such security interest or lien in
connection with the debt or debts being reaffirmed in the reaffirmation agreement described in
Part B.

Item or Type of Item Original Purchase Price or Original Amount of Loan

 

Mortgage Loan $126,400.00

Optional ---At the election of the creditor, a repayment schedule using one or a combination of
the following may be provided:

Repayment Schedule:

Your first payment in the amount 0:$1,495.36 is due 5/1/2021 but the future payment amount may
be different. Consult your reaffirmation agreement or credit agreement, as applicable.

ae |

Your payment schedule will be: payments in the amount of: each, payable (monthly,
annually, weekly, etc.) on the (day) of each Month (week, month, etc.), unless altered later by mutual
agreement in writing.

— Or—

A reasonably specific description of the debtor’s repayment obligations to the extent known by
the creditor or creditor’s representative.

2. INSTRUCTIONS AND NOTICE TO DEBTOR
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4

Reaffirming a debt is a serious financial decision. The law requires you to take certain
steps to make sure the decision is in your best interest. If these steps are not completed, the
reaffirmation agreement is not effective, even though you have signed it.

1. Read the disclosures in this Part A carefully. Consider the decision to reaffirm
carefully. Then, if you want to reaffirm, sign the reaffirmation agreement in Part B (or you may
use a separate agreement you and your creditor agree on),

2. Complete and sign Part D and be sure you can afford to make the payments you are
agreeing to make and have received a copy of the disclosure statement and a completed and
signed reaffirmation agreement.

3. If you were represented by an attorney during the negotiation of your reaffirmation
agreement, the attorney must have signed the certification in Part C.

4. If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, you must have completed and signed Part E.

5. The original of this disclosure must be filed with the court by you or your creditor. If a
separate reaffirmation agreement (other than the one in Part B) has been signed, it must be
attached.

6. If the creditor is not a Credit Union and you were represented by an attorney during
the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes effective
upon filing with the court unless the reaffirmation is presumed to be an undue hardship as
explained in Part D. If the creditor is a Credit Union and you were represented by an attorney
during the negotiation of your reaffirmation agreement, your reaffirmation agreement becomes
effective upon filing with the court.

7. If you were not represented by an attorney during the negotiation of your reaffirmation
agreement, it will not be effective unless the court approves it. The court will notify you and the

creditor of the hearing on your reaffirmation agreement. You must attend this hearing in
bankruptcy court where the judge will review your reaffirmation agreement. The bankruptcy
court must approve your reaffirmation agreement as consistent with your best interests, except
that no court approval is required if your reaffirmation agreement is for a consumer debt secured
by a mortgage, deed of trust, security deed, or other lien on your real property, like your home.
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YOUR RIGHT TO RESCIND (CANCEL) YOUR REAFFIRMATION AGREEMENT

You may rescind (cancel) your reaffirmation agreement at any time before the
bankruptcy court enters a discharge order, or before the expiration of the 60-day period that
begins on the date your reaffirmation agreement is filed with the court, whichever occurs later.
To rescind (cancel) your reaffirmation agreement, you must notify the creditor that your
reaffirmation agreement is rescinded (or canceled).

Frequently Asked Questions:

What are your obligations if you reaffirm the debt? A reaffirmed debt remains your
personal legal obligation. It is not discharged in your bankruptcy case. That means that if you
default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to
take your property or your wages. Otherwise, your obligations will be determined by the
reaffirmation agreement which may have changed the terms of the original agreement. For
example, if you are reaffirming an open end credit agreement, the creditor may be permitted by
that agreement or applicable law to change the terms of that agreement in the future under
certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not
required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest.
Be sure you can afford the payments you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not
eliminate any lien on your property. A ‘‘lien’’ is often referred to as a security interest, deed of
trust, mortgage or security deed. Even if you do not reaffirm and your personal liability on the
debt is discharged, because of the lien your creditor may still have the right to take the property
securing the lien if you do not pay the debt or default on it. If the lien is on an item of personal
property that is exempt under your State’s law or that the trustee has abandoned, you may be
able to redeem the item rather than reaffirm the debt. To redeem, you must make a single
payment to the creditor equal to the amount of the allowed secured claim, as agreed by the
parties or determined by the court.

NOTE: When this disclosure refers to what a creditor ‘‘may’’ do, it does not use
the word “may”’ to give the creditor specific permission. The word ‘‘may’’ is
used to tell you what might occur if the law permits the creditor to take the action.
If you have questions about your reaffirming a debt or what the law requires,
consult with the attorney who helped you negotiate this agreement reaffirming a
debt. If you don’t have an attorney helping you, the judge will explain the effect
of your reaffirming a debt when the hearing on the reaffirmation agreement is
held.
 

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B2400A/B ALT (Form 2400A/7B AL) (12/145) 6
PART B: REAFFIRMATION AGREEMENT
I (we) agree to reaffirm the debts arising under the credit agreement described below

1. All terms of original mortgage are hereby incorporated.

2. Description of any changes to the credit agreement made as part of this reaffirmation

 

agreement:
SIGNATURE(S):
Borrower: Accepted by creditor:
®
Bank of America, N.A.
(Print Name (Printed Name of Creditor)

16001 North Dallas Parkway
TX8-044-03-17
Addison, Texas 75001

 

       

Rignaus), ILE

Co-borrower, if also reaffirming these debts: Yew pip Z- (ae bid, CS, (DEW

(Printed Name and Title of Individual
Signing for Creditor)

 

(Print Name)

 

(Signature) Date of creditor acceptance:

Date: 5/11/2021

 

 
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PART C: CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY).
[To be filed only if the attorney represented the debtor during the course of negotiating

this agreement. ]

Thereby certify that (1) this agreement represents a fully informed and voluntary
agreement by the debtor; (2) this agreement does not impose an undue hardship on the debtor or
any dependent of the debtor; and (3) I have fully advised the debtor of the legal effect and
consequences of this agreement and any default under this agreement.

(-] [Check box, if applicable and the creditor is not a Credit Union.] A presumption of
undue hardship has been established with respect to this agreement. In my opinion, however, the
debtor is able to make the required payment.

Printed Name of Debtor’s Attorney a “S$ te Cine ft
Signature of Debtor’s Kitomegs Pe OE,

Date: gBe-Rehy
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B2400A4/B ALT (Form 24004/8 ALT) 12/15) 8

PART D: DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

[Read and complete sections 1 and 2, OR, if the creditor is a Credit Union and
the debtor is represented by an attorney, read section 3. Sign the appropriate
signature line(s) and date your signature. If you complete sections 1 and 2

and your income less monthly expenses does not leave enough to make the
payments under this reaffirmation agreement, check the box at the top of page

/ indicating ‘Presumption of Undue Hardship.” Otherwise, check the box at
the top of page | indicating “No Presumption of Undue Hardship” ]

1. I believe this reaffirmation agreement will not impose an undue hardship on my
dependents or me. I can afford to make the payments on the reaffirme debt because my
monthly income (take home pay plus any other income received) i: 8S ay , and my actual

current monthly expenses including monthly pprats on post-bankruptcy debt and other
reaffirmation agreements tota 005 4 : leaving $ / O8,> to make the required payments
on this reaffirmed debt.

| understand that if my income less my monthly expenses does not leave enough to
make the payments, this reaffirmation agreement is presumed to be an undue hardship on me
and must be reviewed by the court. However, this presumption may be overcome if I explain
to the satisfaction of the court how I can afford to make the payments here:

 

 

 

(Use an additional page if needed for a full explanation.)

2. I received a copy of the Reaffirmation Disclosure Statement in Part A and a
completed and signed reaffirmation agreement.

 

  

— Or—
f the creditor is a Credit Union and the debtor is represented by an attorney]

3. I believe this reaffirmation agreement is in my financial interest. | can afford to
make the payments on the reaffirmed debt. I received a copy of the Reaffirmation Disclosure
Statement in Part A and a completed and signed reaffirmation agreement.

Signed:

 

(Debtor)

 

(Joint Debtor, if any)
Date:

 

 
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PART E: MOTION FOR COURT APPROVAL
[To be completed and filed only if the debtor is not represented by an attorney during the

course of negotiating this agreement.]

MOTION FOR COURT APPROVAL OF REAFFIRMATION AGREEMENT

I (we), the debtor(s), affirm the following to be true and correct:

I am not represented by an attorney in connection with this reaffirmation agreement.

I believe this reaffirmation agreement is in my best interest based on the income and
expenses I have disclosed in my Statement in Support of this reaffirmation agreement, and
because (provide any additional relevant reasons the court should consider):

Therefore, I ask the court for an order approving this reaffirmation agreement under
the following provisions (check all applicable boxes) :

0) 11 U.S.C. § 524(c)(6) (debtor is not represented by an attorney during the
course of the negotiation of the reaffirmation agreement)

[1 11 U.S.C. § 524(m) (presumption of undue hardship has arisen because
monthly expenses exceed monthly income)

Signed:

 

(Debtor)

 

(Joint Debtor, if any)
Date:
 

 

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THIS IS AN EXTENSION OF CREDIT AS DEFINED BY SECTION 50(a)(6),
ARTICLE XVI OF THE TEXAS CONSTITUTION

TEXAS HOME EQUITY NOTE
(Fixed Rate - First Lien)
September 26, 2017 Mansfield Texas
, [Date] [City] [State]

1300 Stone Creek Dr, Mansfield, TX 76063-6237
[Property Address]

1, BORROWER'S PROMISE TO PAY

This is an extension of credit as defined by Section 50(a)(6), Article XVI of the Texas Constitution (the "Extension
of Credit"). In return for the Extension of Credit that I have received evidenced by this Note, I promise to pay U.S.
$126,400.00 (this amount is called "Principal"), plus interest, to the order of the Lender. The Lender is BANK OF
AMERICA, N.A..I will make all payments under this Note in the form of cash, check or money order.

I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who
is entitled to receive payments under this Note is called the "Note Holder."

I understand that this is not an open-end account that may be debited from time to time or under which credit may be
extended from time to time.

The property described above by the Property Address is subject to the lien of the Security Instrument executed
concurrently herewith (the "Security Instrument").

2. INTEREST

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a
yearly rate of 3.375%. It is agreed that the total of all interest and other charges that constitute interest under applicable law
shall not exceed the maximum amount of interest permitted by applicable law. Nothing in this Note or the Security
Instrument shall entitle the Note Holder upon any contingency or event whatsoever, including by reason of acceleration of the
maturity or Prepayment of the Extension of Credit, to receive or collect interest or other charges that constitute interest in
excess of the highest rate allowed by applicable law on the Principal or on a monetary obligation incurred to protect the
property described above authorized by the Security Instrument, and in no event shall I be obligated to pay interest in excess
of such rate,

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in
Section 6(B) of this Note.

3, PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the 1st day of each month beginning November, 20177, I will make these
payments every month until J have paid all of the principal and interest and any other charges described below that I may owe
under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest before
Principal. If, on October 1, 2032, I still owe amounts under this Note, I will pay those amounts in full on that date,
which is called the "Maturity Date."

I will make my monthly payments atP.O. Box 650070, Dallas, TX 75265-0070 or ata different place
if required by the Note Holder.

(B) Amount of Monthly Payments

My monthly payment will be in the amount of U.S. $895.87.

4, BORROWER'S RIGHT TO PREPAY
I have the right to make payments of Principal at any time before they are due. A payment of Principal only is

 

TEXAS HOME EQUITY NOTE (Fixed Rate - First Lien) - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3244.1 1/01 (rev. 10/03)

TEXAS (A) (6) - HOME EQUITY FIXED RATE NOTE - FIRST LIEN (A6FXDNOTE,TX)

6173.15 (03/17). Page 1 of 4 BANK OF AMERICA, N.A.

 

 

  

    

 
 

 

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known as a "Prepayment." When I make:a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not
designate a payment as a Prepayment if I have not made all the monthly payments due under the Note,

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will
use my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my
Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the
Principal amount of the Note. If I make a partial Prepayment, there will be no changes in the due date or in the amount of my
monthly payment unless the Note Holder agrees in writing to those changes. Should the Note Holder agree in writing to such
changes, my payments thereafter will be payable in substantially equal successive monthly installments,

5. LOAN CHARGES

All agreements between Note Holder and me are expressly limited so that any interest, loan charges, or fees (other
than interest) collected or to be collected from me, any owner or the spouse of any owner of the property described above in
connection with the origination, evaluation, maintenance, recording, insuring or servicing of the Extension of Credit shall not
exceed, in the aggregate, the highest amount allowed by applicable law.

If a law, which applies to this Extension of Credit and which sets maximum loan charges, is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with this Extension of Credit exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
permitted limit; and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The
Note Holder will make this refund by making a payment to me. The Note Holder's payment of any such refund will
extinguish any right of action I might have arising out of such overcharge.

It is the express intention of the Note Holder and me to structure this Extension of Credit to conform to the
provisions of the Texas Constitution applicable to extensions of credit as defined by Section 50(a)(6), Article XVI of the
Texas Constitution. If, from any circumstance whatsoever, any promise, payment, obligation or provision of this Note, the
Security Instrument or any other loan document involving this Extension of Credit transcends the limit of validity prescribed
by applicable law, then such promise, payment, obligation or provision shall be reduced to the limit of such validity, or
eliminated as a requirement, if necessary for compliance with such law, and such document may be reformed by written
notice from the Note Holder without the necessity of the execution of any new amendment or new document by me.

The provisions of this Section 5 shall supersede any inconsistent provision of this Note or the Security Instrument.

6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charge for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days after the
date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 5.000% of my overdue payment
of principal and interest. I will pay this late charge promptly but only once on each late payment.

(B) Default

IfI do not pay the full amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default

If I am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount
by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid
and all the interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to
me or delivered by other means. This Note may not be accelerated because of a decrease in the market value of the property
described above or because of the property owner's default under any indebtedness not evidenced by this Note or the Security
Instrument.

(D) No Waiver By Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the
right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable

 

TEXAS HOME EQUITY NOTE (Fixed Rate - First Lien) - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3244.1 1/01 (rev. 10/03)

TEXAS (A) (6) - HOME EQUITY FIXED RATE NOTE - FIRST LIEN (AGFXDNOTE,TX)

6173.15 (03/17 Page 2 of 4 BANK OF AMERICA, N.A.

 

  
 

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law, including Section 50(a)(6) Article XVI of the Texas Constitution. Those expenses include, for example, reasonable
attorneys' fees. I understand that these expenses are not contemplated as fees to be incurred in connection with maintaining or
servicing this Extension of Credit.

7. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given
by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if 1 give the
Note Holder a notice of my different address,

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by
first class mail to the Note Holder at the address stated in Section 3(A) above or at a different address if I am given a notice of
that different address. However, if the purpose of the notice is to notify Note Holder of failure to comply with Note Holder's
obligations under this Extension of Credit, or noncompliance with any provisions of the Texas Constitution applicable to
extensions of credit as defined by Section 50(a)(6), Article XVI of the Texas Constitution, then notice by certified mail is
required,

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

Subject to the limitation of personal liability described below, each person who signs this Note is responsible for
ensuring that all of my promises and obligations in this Note are performed, including the payment of the full amount owed.
Any person who takes over these obligations is also so responsible.

I understand that Section 50(a)(6)(C), Article XVI of the Texas Constitution provides that this Note is given without
personal liability against each owner of the property described above and against the spouse of each owner unless the owner
or spouse obtained this Extension of Credit by actual fraud. This means that, absent such actual fraud, the Note Holder can
enforce its rights under this Note solely against the property described above and not personally against any owner of such
property or the spouse of an owner.

If this Extension of Credit is obtained by such actual fraud, I will be personally liable for the payment of any
amounts due under this Note. This means that a personal judgment could be obtained against me if I fail to perform my
responsibilities under this Note, including a judgment for any deficiency that results from Note Holder's sale of the property
described above for an amount less than is owing under this Note.

If not prohibited by Section 50(a)(6)(C), Article XVI of the Texas Constitution, this Section 8 shall not impair in any
way the right of the Note Holder to collect all sums due under this Note or prejudice the right of the Note Holder as to any
promises or conditions of this Note.

9. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of
Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have not been
paid.

10. SECURED NOTE

In addition to the protections given to the Note Holder under this Note, the Security Instrument, dated the same date
as this Note, protects the Note Holder from possible losses which might result if I do not keep the promises which I make in
this Note. That Security Instrument describes how and under what conditions I may be required to make immediate payment
in full of all amounts I owe under this Note. Some of those conditions are described as follows:

If all or any part of the Property or any Interest in the Property is sold or transferred (or if

Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without

Lender's prior written consent, Lender may require immediate payment in full of all sums secured by this

Security Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by

Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall

provide a period of not less than 30 days from the date the notice is given in accordance with Section 14

within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay

 

TEXAS HOME EQUITY NOTE (Fixed Rate - First Lien) - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT

Form 3244.1 1/01 (rev. 10/03)
TEXAS (A) (6) - HOME EQUITY FIXED RATE NOTE - FIRST LIEN (AGFXDNOTE. TX)
6173.15 (03/17 Page 3 of 4 BANK OF AMERICA, N.A.

   

 

 

 
    

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these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this

Security Instrument without further notice or demand on Borrower.
11, APPLICABLE LAW

This Note shall be governed by the law of Texas and any applicable federal law. In the event of any conflict between
the Texas Constitution and other applicable law, it is the intent that the provisions of the Texas Constitution shall be applied
to resolve the conflict. In the event of a conflict between any provision of this Note and applicable law, the applicable law
shall control to the extent of such conflict.and the conflicting provisions contained in this Note shall be modified to the extent
necessary to comply with applicable law. All other provisions in this Note will remain fully effective and enforceable.

12. NO ORAL AGREEMENTS

THIS NOTE CONSTITUTES A "WRITTEN LOAN AGREEMENT" PURSUANT TO SECTION 26.02 OF
THE TEXAS BUSINESS AND COMMERCE CODE, IF SUCH SECTION APPLIES. THIS WRITTEN LOAN
AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY NOT BE
CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
PARTIES.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

[DO NOT SIGN IF THERE ARE BLANKS LEFT TO BE COMPLETED IN THIS DOCUMENT.

THIS DOCUMENT MUST BE EXECUTED AT THE OFFICE OF THE LENDER, AN

ATTORNEY AT LAW OR A TITLE COMPANY. YOU MUST RECEIVE A COPY OF THIS
_.DOCUMENT AFTER-X¥OU HAVE SIGNED IT.]

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[Sign Original Only]

Mortgage Loan Originator Kimberli M Tester
Nationwide Mortgage Licensing System and Registry Identification Number P|
Mortgage Loan Origination Company BANK OF AMERICA, N.A.

Nationwide Mortgage Licensing System and Registry Identification Number i .

PAY TO THE ORDER OF

WITHOUT RECOURSE
BANK OF AMERICA, N.A.

ey An YY) ¥LOO_

Ann M Flores’
Assistant Vice President

 

TEXAS HOME EQUITY NOTE (Fixed Rate - First Lien) - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3244.1 1/01 (rev. 10/03)

TEXAS (A) (6) - HOME EQUITY FIXED RATE NOTE - FIRST LIEN (AGFXDNOTE. TX)

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WHEN RECORDED, RETURN TO:

FIRST AMERICAN TYILE INSURANCE CO.
4795 REGENT BLVD, 1006-A

IRVING, TX 75068

ATIN: RECORDING

 

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THIS SECURITY INSTRUMENT SECURES AN EXTENSION OF CREDIT AS DEFINED BY SECTION
50(a)(6), ARTICLE XVI OF THE TEXAS CONSTITUTION.

TEXAS HOME EQUITY SECURITY INSTRUMENT
(First Lien)

MITH
TX SNITH
Doc TE) #: xox 46

FIRST AMERICAN ELS MIN:
TX HOME EQUITY one: 1-868-679—

 
   

PIN:
Escrow/Closing #:

NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU
MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY
BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
SECURITY NUMBER OR YOUR DRIVER'S LICENSE NUMBER.

This Security Instrument is not intended to finance Borrower's acquisition of the Property.
DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 10, 12, 17,
19, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 15.

(A) "Security Instrument" means this document, which is dated September 26, 2017, together with all Riders to
this document,

(B) "Borrower" is SALLY L. SMITH A/K/A SALLY WILSON SMITH, an unmarried woman. Borrower is
the grantor under this Security Instrument.

(C) "Lender" is BANK OF AMERICA, N.A,.LenderisaNational Association organized and existing under
the laws of THE UNITED STATES. Lender's address is 101 South Tryon Street, Charlotte, NC
28255. Lender includes any holder of the Note who is entitled to receive payments under the Note.

(D) “Trustee” is ReconTrust Company, N.A.. Trustee's address is 1800 Tapo Canyon Rd,Simi Valley,
CA 93603.

TEXAS HOME EQUITY SECURITY INSTRUMENT (First Lien}-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3044.1 1/01 (10/03)

TEXAS (A) (6) - HOME EQUITY SECURITY INSTRUMENT - FIRST LIEN (SIAG.7TX)

 
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DOC 1:

(E) "MERS" is Mortgage Electronic Registration System, Inc. MERS is a separate corporation that is acting solely as a
nominee for Lender and Lender’s successors and assigns. MERS is the beneficiary under this Security Instrument,
MERS is organized and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026,
Flint, MI 48501-2026, tel. (888) 679-MERS,

(F) "Note" means the promissory note signed by Borrower and dated September 26, 2017. The Note states that
Borrower owes Lender One Hundred Twenty-Six Thousand Four Hundred And 00/100 Dollars (U.S.
$126, 400.00) plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in
full not later than October 1, 2032.

(G) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."

(H) "Extension of Credit" means the debt evidenced by the Note, as defined by Section 50(a)(6), Article XVI of the
Texas Constitution and all the documents executed in connection with the debt.

(1) "Riders" means all riders to this Security Instrument that are executed by Borrower. The following riders are to be
executed by Borrower {check box as applicable}:

CO Texas Home Equity Condominium Rider C Other
C1 Texas Home Equity Planned Unit Development Rider

(J) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
opinions.

(K) “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges that
are imposed on Borrower or the Property by a condominium association, homeowners association or similar organization.

(L) “Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft, or
similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic
tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not
limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers,
and automated clearinghouse transfers,

(M) "Escrow Items" means those items that are described in Section 3.

(N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any third
party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of,
the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation;
or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

(O) "Perlodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note, plus (ii)
any amounts under Section 3 of this Security Instrument.

(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing
regulation, Regulation X (12 C.F.R. Part 1024), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter, As used in this Security Instrument, "RESPA"
refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage loan" even if the
Extension of Credit does not qualify as a "federally related mortgage loan" under RESPA.

(Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that party
has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

TEXAS HOME EQUITY SECURITY INSTRUMENT (First Lien)-Fannle Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3044.1 1/01 (10/03)
TEXAS (A) (6) - HOME EQUITY SECURITY INSTRUMENT - FIRST LIEN (SIAG.TX)

6178.31 (03/17) Page 2 of 17 BANK OF AMERICA, N.A.

    

     
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The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors and assigns)
and the successors and assigns of MERS, This Security Instrument secures to Lender: (i) the repayment of the Extension
of Credit, and all extensions and modifications of the Note; and (ii) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to
Trustee, in trust, with power of sale, the following described Property located in the COUNTY of Tarrant:

LOT 6, IN BLOCK 2, OF CARDINAL OAKS ADDITION, AN ADDITION TO THE CITY OF
MANSFIELD, TARRANT COUNTY, TEXAS, ACCORDING TO MAP OR PLAT THEREOF RECORDED IN
VOLUME 388-209, PAGE(S) 4, OF THE MAP AND/OR PLAT RECORDS OF TARRANT COUNTY,
TEXAS.

which currently has the address of 1300 Stone Creek Dr Mansfield, Texas 76063-6237 ("Property
Address"):

TOGETHER WITH all the improvements now or hereafter erected on the Property, and all easements,
appurtenances, and fixtures now or hereafter a part of the Property. All replacements and additions shall also be covered
by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property"; provided
however, that the Property is limited to homestead property in accordance with Section 50(a)(6)(H), Article XVI of the
Texas Constitution. Borrower understands and agrees that MERS holds only legal title to the interests granted by
Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and
Lender's successors and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the
right to foreclose and sell the Property; and to take any action required of Lender including, but not limited to, releasing
and canceling this Security Instrument,

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to
grant and convey the Property and that the Property is unencumbered, except for encumbrances of record, Borrower
warrants and will defend generally the title to the Property against all claims and demands, subject to any encumbrances
of record,

Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow Items, and Late Charges. Borrower shall pay when due the
principal of, and interest on, the debt evidenced by the Note and any late charges due under the Note. Borrower shall also
pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security Instrument shall be
made in U.S. currency. However, if any check or other instrument received by Lender as payment under the Note or this
Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under the
Note and this Security Instrument be made in one or more of the following forms, as selected by Lender: (a) cash; (b)
money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality, or entity; or (d} Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other
location as may be designated by Lender in accordance with the notice provisions in Section 14. Lender may return any
payment or partial payment if the payment or partial payments are insufficient to bring the Extension of Credit current.
Lender may accept any payment or partial payment insufficient to bring the Extension of Credit current, without waiver
of any rights hereunder or prejudice to its rights to refuse such payment or partial payment in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied as of its
scheduled due date, then Lender need not pay interest on unapplied funds, Lender may hold such unapplied funds until
Borrower makes payment to bring the Extension of Credit current. If Borrower does not do so within a reasonable period
of time, Lender shall either apply such funds or return them to Borrower, If not applied earlier, such funds will be applied
IEAAS HUME BQULTY SECURE Py INSTRUMENT (First Lien}-Fannie Mae/Freddie Mac GRiORAS INSTRUMENT

Form 3044.1 1/01 (10/03)

TEXAS (A) (6) - HOME EQUITY SECURITY INSTRUMENT - FIRST LIEN (SIAG.TX)

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to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from making payments due under the Note and this
Security Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a} interest due under the Note; (b)
principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment
in the order in which it became due, Any remaining amounts shall be applied first to late charges, second to any other
amounts due under this Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more
than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the repayment of
the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess exists after
the payment is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late
charges due. Voluntary prepayments shall be applied as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments
and other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b)
leasehold payments or ground rents on the Property, if any; and (c) premiums for any and all insurance required by
Lender under Section 5. These items are called "Escrow Items." At origination or at any time during the term of the
Extension of Credit, Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed
by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all
notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender
waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to
pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of
such waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which
payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such
payment within such time period as Lender may require. Borrower's obligation to make such payments and to provide
receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the
plugos “wrcuaul aul agaccuent” is uacd in Geviivu 9. I Buuewer is vbligaicd w pay Escrow lvems direcuy, pursuant tw a
waiver, and Borrower fails to pay the amount duc for an Escrow Item, Lender may exercise its rights under Section 9 and
pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount. Lender may
revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section 14 and, upon
such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA.
Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of
future Escrow Items or otherwise in accordance with Applicable Law,

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank.
Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA, Lender shall not
charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow
Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge.

TEXAS HOME EQUITY SECURITY INSTRUMENT (First Lien)-Fannle Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3044.1 1/01 (10/03)
TEXAS (A) (6) - HOME EQUITY SECURITY INSTRUMENT - FIRST LIEN (STA6.TX)

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Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be
required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that
interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as
required by RESPA.

If there is 2 surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the
excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender
shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
shortage in accordance with RESPA, but in no more than twelve monthly payments. If there is a deficiency of Funds held
in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than twelve monthly
payments,

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower
any Funds held by Lender.

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if
any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items,
Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a)
aprees in writing to the payment of the obligation secured by the lien in 2 manner acceptable to Lender, but only so long
as Borrower is performing such agreement; (b)} contests the lien in good faith by, or defends against enforcement of the
lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those
proceedings are pending, but only until such proceedings are concluded; or (c} secures from the holder of the lien an
agreement satisfactory to Lender suberdinating the lien to this Security Instrument. If Lender determines that any part of
the Property is subject to a lien which can attain priority over this Security Instrument, Lender may give Borrower a
notice identifying the lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take
one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
used by Lender in connection with this Extension of Credit.

5. Property Insurance, Borrower shall keep the improvements now existing or hereafter erected on the Property
insured against loss by fire, hazards included within the term "extended coverage," and any other hazards including, but
not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the
amounts (including deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the
preceding sentences can change during the term of the Extension of Credit. The insurance carrier providing the insurance
shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised
unreasonably. Lender may require Borrower to pay, in connection with this Extension of Credit, either: (a) a one-time
charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone
determination and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the payment of any
fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of
coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the

TEXAS HOME EQUITY SECURITY INSTRUMENT (First Lien)-Fannle Mac/Freddie Mac UNIFORM INSTRUMENT
Form 3044,1 1/01 (10/03)

BANK OF AMERICA, N.A.

TEZAS (A) (6) - HOME EQUITY SECURITY INSTRUMENT - FIRST LIEN (SIAG.TX)
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Property, or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser coverage
than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained might
significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender under
this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These amounts shall bear
interest at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates, If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any form
of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such policy shall
include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance
proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity to
inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall
be undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest
to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance
proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not economically feasible or Lender's
security would be lessened, the insurance proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order
provided for in Section 2.

Tf Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered
to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. In
either event, or if Lender acquires the Property under Section 21 or otherwise, Borrower hereby assigns to Lender (a)
Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this
Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid
by Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the coverage of
the Property. Lender may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid
under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower now occupies and uses the Property as Borrower's Texas homestead and shall continue
to occupy the Property as Borrower's Texas homestead for at least one year after the date of this Security Instrument,
unless Lender otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition, Unless it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further

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deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or the taking of,
the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released proceeds
for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient to repair or
restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of or
prior to such an interior inspection specifying such reasonable cause.

&. Borrower's Loan Application. Borrower's actions shall constitute actual fraud under Section 50{a)(6)(c},
Article XVI of the Texas Constitution and Borrower shall be in default and may be held personally liable for the debt
evidenced by the Note and this Security Instrument if, during the Loan application process, Borrower or any persons or
entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false, misleading, or
inaccurate information or statements to Lender (or failed to provide Lender with material information) in connection with
the Loan or any other action or inaction that is determined to be actual fraud. Material representations include, but are not
limited to, representations concerning Borrower's occupancy of the Property as a Texas homestead, the representations
and warranties contained in the Texas Home Equity Affidavit and Agreement, and the execution of an acknowledgment
of fair market value of the property as described in Section 27,

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security Instrument
(such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may attain
priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Property, then
Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property and rights
under this Security Instrument, including protecting and/or assessing the value of the Property, and securing and/or
repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien which
has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its
interest in the Property and/or rights under this Security Instrument, including its secured position in a bankruptcy
proceeding. Securing the Property includes, but is not limited to, entering the Property to make repairs, change locks,
replace or board up doors and windows, drain water from pipes, eliminate building or other cede violations or dangerous
conditions, and have utilities tumed on or off. Although Lender may take action under this Section 9, Lender does not
have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any
or all actions authorized under this Section 9. No powers are granted by Borrower to Lender or Trustee that would violate
provisions of the Texas Constitution applicable to Extensions of Credit as defined by Section 50(a)(6), Article XVI of the
Texas Constitution or other Applicable Law.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If
Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the
merger in writing.

10. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shali be applied to restoration or repair of the Property,

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if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to
inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall
be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of progress
payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid
on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds, If the restoration or repair is not economically feasible or Lender's security would be lessened,
the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due,
with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in
Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the
sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the
amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured
immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in
writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the
sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as
defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender
within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds
either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then due.
"Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom Borrower
has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding which is not commenced as a result of Borrower's
default under other indebtedness not secured by a prior valid encumbrance against the homestead, whether civil or
criminal, is begun that, in Lender's judgment, could result in forfeiture of the Property or other material impairment of
Lender's interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 18, by causing the action or proceeding to be dismissed with a
ruling that, in Lender's judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in
the Property or rights under this Security Instrument. The proceeds of any award or claim for damages that are attributable
to the impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section 2.

11. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any

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Successor in interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of
Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security Instrument by
reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any forbearance by
Lender in exercising any right or remedy including, without limitation, Lender's acceptance of payments from third
persons, entities or Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a waiver
of or preclude the exercise of any right or remedy.

12. Joint and Several Liability; Security Instrument Execution; Successors and Assigns Bound, Borrower
covenants and agrees that Borrower's obligations and liability shall be joint and several. However, any person who signs
this Security Instrument, but does not execute the Note: (a) is signing this Security Instrument only to mortgage, grant and
convey the person's interest in the Property under the terms of this Security Instrument and to comply with the
requirements of Section 50(a)(6)(A), Article XVI of the Texas Constitution; (b) is not obligated to pay the sums secured
by this Security Instrument and is not to be considered a guarantor or surety; (c) agrees that this Security Instrument
establishes a voluntary lien on the homestead and constitutes the written agreement evidencing the consent of each owner
and each owner's spouse; and (d) agrees that Lender and Borrower can agree to extend, modify, forbear or make any
accommodations with regard to the terms of the Note.

Subject to the provisions of Section 17, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and
benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under
this Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security
Instrument shall bind (except as provided in Section 19} and benefit the successors and assigns of Lender.

13, Extension of Credit Charges, Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this Security
Instrument, including, but not limited to, attorneys" fees, property inspection and valuation fees. In regard to any other
fees, the absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be
construed as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this
Security Instrument or by Applicable Law.

If the Extension of Credit is subject to a law which sets maximum Extension of Credit charges, and that law is
finally interpreted so that the interest or other Extension of Credit charges collected or to be collected in connection with
the Extension of Credit exceed the permitted limits, then: (a) any such Extension of Credit charge shall be reduced by the
amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from Borrower which
exceeded permitted limits will be refunded to Borrower. Lender will make this refund by making a payment to Borrower.
The Lender's payment of any such refund will extinguish any right of action Borrower might have arising out of
such overcharge.

14. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in
wtiting. Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to
Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means.
Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise.
The notice address shall be the Property Address unless Borrower has designated a substitute notice address by notice to
Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for
reporting Borrower's change of address, then Borrower shall only report a change of address through that specified
procedure. There may be only one designated notice address under this Security Instrument at any one time. Any notice to
Lender shall be given by delivering it or by mailing it by first class mail (but, by certified mail if the notice is given
pursuant to Section 19) to Lender's address stated herein unless Lender has designated another address by notice to

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Borrower, Any notice in connection with this Security Instrument shall not be deemed to have been given to Lender until
actually received by Lender, If any notice required by this Security Instrument is also required under Applicable Law, the
Applicable Law requirement will satisfy the corresponding requirement under this Security Instrument.

15. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by
federal law and the laws of Texas, All rights and obligations contained in this Security Instrument are subject to any
requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree
by contract or it might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict
shall not affect other provisions of this Security Instrument or the Note which can be given effect without the conflicting
provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding
neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa;
and (c) the word "may" gives sole discretion without any obligation to take any action.

16. Borrower's Copies. Borrower shall be given at the time this Extension of Credit is made, a copy of all
documents signed by Borrower related to the Extension of Credit.

17. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 17, "Interest in the
Property” means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests
transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the
transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natutal person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender
may require immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a
period of not less than 30 days from the date the notice is given in accordance with Section 14 within which Borrower
must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on
Borrower,

18. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five
days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other period
as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment enforcing
this Security Instrument, Those conditions are that Borrower: (2) pays Lender all sums which then would be due under
this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; {c) pays all expenses, insofar as allowed by Section 50(a}(6), Article XVI of the Texas Constitution, incurred
in enforcing this Security Instrument, including, but not limited to, reasonable attorneys’ fees, property inspection and
valuation fees, and other fees incurred for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument; and (d) takes such action as Lender may reasonably require to assure that Lender's interest in the
Property and rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this Security
Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums and expenses in
one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security

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Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred. However, this
right to reinstate shall not apply in the case of acceleration under Section 17.

19. Sale of Note; Change of Loan Servicer; Notice of Grievance; Lender's Right-to-Comply. The Note or a
partial interest in the Note (together with this Security Instrument) can be sold one or more times without prior notice to
Borrower, A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments
due under the Note and this Security Instrument and performs other mortgage loan servicing obligations under the Note,
this Security Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to
a sale of the Note. if there is a change of the Loan Servicer, Borrower will be given written notice of the change which
will state the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the
Extension of Credit is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing
obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as cither an individual
litigant or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that
alleges that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until
such Borrower or Lender has notified the other party (with such notice given in compliance with the requirements of
Section 14) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such notice
to take corrective action. If Applicable Law provides a time period which must elapse before certain action can be taken,
that time period will be deemed to be reasonable for purposes of this paragraph. For example, Section 50(a}(6)(Q)(x),
Article XVI of the Texas Constitution, generally provides that a lender has 60 days to comply with its obligations under
the extension of credit after being notified by a borrower of a failure to comply with any such obligation. The notice of
acceleration and opportunity to cure given to Borrower pursuant to Section 21 and the notice of acceleration given to
Borrower pursuant to Section 17 shall be deemed to satisfy the notice and opportunity to take corrective action provisions
of this Section 19.

It is Lender's and Borrower's intention to conform strictly to provisions of the Texas Constitution applicable to
Extensions of Credit as defined by Section 50(a)(6), Article XVI of the Texas Constitution.

All agreements between Lender and Borrower are hereby expressly limited so that in no event shall any
agreement between Lender and Borrower, or between either of them and any third party, be construed not to allow Lender
60 days after receipt of notice to comply, as provided in this Section 19, with Lender's obligations under the Extension of
Credit to the full extent permitted by Section 50{a)(6), Article XVI of the Texas Constitution. Borrower understands that
the Extension of Credit is being made on the condition that Lender shall have 60 days after receipt of notice to comply
with the provisions of Section 50{a)(6), Article XVI of the Texas Constitution, As a precondition to taking any action
premised on failure of Lender to comply, Borrower will advise Lender of the noncompliance by a notice given as required
by Section 14, and will give Lender 60 days after such notice has been received by Lender to comply. Except as otherwise
required by Applicable Law, only after Lender has received said notice, has had 60 days to comply, and Lender has failed
to comply, shall all principal and interest be forfeited by Lender, as required by Section 50(a)(6)(Q)(x), Article XVI of the
Texas Constitution in connection with failure by Lender to comply with its obligations under this Extension of Credit.
Borrower will cooperate in reasonable efforts to correct any failure by Lender to comply with Section 50(a}(6), Article
XVI of the Texas Constitution.

In the event that, for any reason whatsoever, any obligation of Borrower or of Lender pursuant to the terms or
requirements hereof or of any other loan document shall be construed to violate any of the provisions of the Texas
Constitution applicable to Extensions of Credit as defined by Section 50(a)(6), Article XVI of the Texas Constitution,
then any such obligation shall be subject to the provisions of this Section 19, and the document may be reformed, by

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written notice from Lender, without the necessity of the execution of any amendment or new document by Borrower, so
that Borrower's or Lender's obligation shall be modified to conform to the Texas Constitution, and in no event shall
Borrower or Lender be obligated to perform any act, or be bound by any requirement which would conflict therewith.

All agreements between Lender and Borrower are expressly limited so that any interest, Extension of Credit
charge or fee collected or to be collected (other than by payment of interest) from Borrower, any owner or the spouse of
any owner of the Property in connection with the origination, evaluation, maintenance, recording, insuring or servicing of
the Extension of Credit shal! not exceed, in the aggregate, the highest amount allowed by Applicable Law.

It is the express intention of Lender and Borrower to structure this Extension of Credit to conform to the
provisions of the Texas Constitution applicable to Extensions of Credit as defined by Section 50(a)(6), Article XVI of the
Texas Constitution. If, from any circumstance whatsoever, any promise, payment, obligation or provision of the Note, this
Security Instrument or any other loan document involving this Extension of Credit transcends the limit of validity
prescribed by Applicable Law, then any promise, payment, obligation or provision shall be reduced to the limit of such
validity, or eliminated as a requirement if necessary for compliance with such law, and such document may be reformed,
by written notice from Lender, without the necessity of the execution of any new amendment or new document by
Borrower.

Lender's right-to-comply as provided in this Section 19 shall survive the payoff of the Extension of Credit. The
provision of this Section 19 will supersede any inconsistent provision of the Note or this Security Instrument.

20. Hazardous Substances. As used in this Section 20: (a) "Hazardous Substances" are those substances defined
as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline,
kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal laws and laws of
the jurisdiction where the Property is located that relate to health, safety or environmental protection; (c) "Environmental
Cleanup" includes any response action, remedial action, or removal action, as defined in Environmental Law: and (d) an
"Environmental Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental
Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to
do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environmental
Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely
affects the value of the Property. The preceding two sentences shall not apply to the presence, use, or storage on the
Property of small quantities of Hazardous Substances that are generally recognized to be appropriate to normal residential
uses and to maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited
to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused
by the presence, use or release of a Hazardous Substance which adversely affects the value of the Property. If Borrower
learns, or is notified by any governmental or regulatory authority, or any private party, that any removal or other
remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an
Environmental Cleanup,

21. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under

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Section 17 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (D) the action
required to cure the default; (c} a date, not less than 30 days from the date the notice is given to Borrower, by
which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
notice will result in acceleration of the sums secured by this Security Instrument and sale of the Property. The
notice shall further inform Borrower of the right to reinstate after acceleration and the right to bring 9 court
action to assert the non-existence of a default or any other defense of Borrower to acceleration and sale. If the
default is not cured on or before the date specified in the notice, Lender at its option may require immediate
payment in full of all sums secured by this Security Instrument without further demand and may invoke the power
of sale and any other remedies permitied by Applicable Law. Insofar as allowed by Section 50(a)(6), Article XVI of
the Texas Constitution, Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided
in this Section 21, including, but not limited to, court costs, reasonable attorneys' fees and costs of title evidence.

The lien evidenced by this Security Instrument may be foreclosed upon only by a court order. Lender
may, at its option, follow any rules of civil procedure promulgated by the Texas Supreme Court for expedited
foreclosure proceedings related to the foreclosure of liens under Section 50(a)(6), Article XVI of the Texas
Constitution ("Rules"), as amended from time to time, which are hereby incorporated by reference. The power of
sale granted herein shall be exercised pursuant to such Rules, and Borrower understands that such power of sale is
not a confession of judgment or a power of attorney to confess judgment or to appear for Borrower in a judicial
proceeding.

22, Power of Sale. It is the express intention of Lender and Borrower that Lender shall have a fully enforceable
lien on the Property. It is also the express intention of Lender and Borrower that Lender's default remedies shall include
the most expeditious means of foreclosure available by law. Accordingly, Lender and Trustee shall have all the powers
provided herein except insofar as may be limited by the Texas Supreme Court. To the extent the Rules do not specify a
procedure for the exercise of a power of sale, the following provisions of this Section 22 shall apply, if Lender invokes
the power of sale. Lender or Trustee shall give notice of the time, place and terms of sale by posting and filing the notice
at least 21 days prior to sale as provided by Applicable Law. Lender shall mail a copy of the notice of sale to Borrower in
the manner prescribed by Applicable Law, Sale shall be made at public vendue. The sale must begin at the time stated in
the notice of sale or not later than three hours after that time and between the hours of 10 a.m. and 4 p.m. on the first
Tuesday of the month. Borrower authorizes Trustee to sell the Property to the highest bidder for cash in one or more
parcels and in any order Trustee determines, Lender or its designee may purchase the Property at any sale. In the event of
any conflict between such procedure and the Rules, the Rules shal! prevail, and this provision shall automatically be
reformed to the extent necessary to comply.

Trustee shall deliver to the purchaser who acquires title to the Property pursuant to the foreclosure of the lien a
Trustee's deed conveying indefensible title to the Property with covenants of general warranty from Borrower. Borrower
covenants and agrees to defend generally the purchaser's title to the Property against all claims and demands. The recitals
in the Trustee's deed shall be prima facie evidence of the truth of the statements made therein. Trustee shall apply the
proceeds of the sale in the following order: {a) to all expenses of the sale, including, but not limited to, court costs and
reasonable Trustee's and attorneys’ fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the
person or persons legally entitled to it.

If the Property is sold pursuant to this Section 22, Borrower or any person holding possession of the Property
through Borrower shall immediately surrender possession of the Property to the purchaser at that sale, If possession is not
surrendered, Borrower or such person shall be a tenant at sufferance and may be removed by writ of possession or other
court proceeding.

23. Release. Within a reasonable time after termination and full payment of the Extension of Credit, Lender shall
cancel and return the Note to the owner of the Property and give the owner, in recordable form, a release of the lien

TEXAS HOME EQUITY SECURITY INSTRUMENT (First Lien)-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT

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securing the Extension of Credit or a copy of an endorsement of the Note and assignment of the lien to a lender that is
refinancing the Extension of Credit. Owner shall pay only recordation costs. OWNER’S ACCEPTANCE OF SUCH
RELEASE, OR ENDORSEMENT AND ASSIGNMENT, SHALL EXTINGUISH ALL OF LENDER'S
OBLIGATIONS UNDER SECTION 50(a}(6), ARTICLE XVI OF THE TEXAS CONSTITUTION.

24. Non-Recourse Liability. Lender shall be subrogated to any and all rights, superior title, liens and equities
owned or claimed by any owner or holder of any liens and debts outstanding immediately prior to execution hereof,
regardless of whether said liens or debts are acquired by Lender by assignment or are released by the holder thereof upon
payment.

Subject to the limitation of personal liability described below, each person who signs this Security Instrument is
responsible for ensuring that all of Borrower's promises and obligations in the Note and this Security Instrument are
performed.

Borrower understands that Section 50(a)(6)(C), Article XVI of the Texas Constitution provides that the Note is
given without personal liability against each owner of the Property and against the spouse of each owner unless the owner
or spouse obtained this Extension of Credit by actual fraud. This means that, absent such actual fraud, Lender can enforce
its rights under this Security Instrument solely against the Property and not personally against the owner of the Property
or the spouse of an owner,

If this Extension of Credit is obtained by such actual fraud, then, subject to Section 12, Borrower will be
personally liable for the payment of any amounts due under the Note or this Security Instrument. This means that a
personal judgment could be obtained against Borrower, if Borrower fails to perform Borrower's responsibilities under the
Note or this Security Instrument, including a judgment for any deficiency that results from Lendcr's sale of the Property
for an amount less than is owing under the Note, thereby subjecting Borrower's other asscts to satisfaction of the debt.

If not prohibited by Section 50(a)(6)(C), Article XVI of the Texas Constitution, this Section 24 shall not impair
in any way the lien of this Security Instrument or the right of Lender to collect all sums due under the Note and this
Security Instrument or prejudice the right of Lender as to any covenants or conditions of the Note and this Security
Instrument.

25, Proceeds. Borrower has not been required to apply the proceeds of the Extension of Credit to repay another
debt except a debt secured by the Property or debt to another lender.

26. No Assignment of Wages. Borrower has not assigned wages as security for the Extension of Credit.

27. Acknowledgment of Fair Market Value. Lender and Borrower have executed a written acknowledgment as
to the fair market value of Borrower's Property on the date the Extension of Credit is made.

28, Substitute Trustee; Trustee Liability. All rights, remedies and duties of Trustee under this Security
Instrument may be exercised or performed by one or more trustees acting alone or together. Lender, at its option and with
or without cause, may from time to time, by power of attorney or otherwise, remove or substitute any trustee, add one or
more trustees, or appoint @ successor trustee to any Trustee without the necessity of any formality other than a designation
by Lender in writing. Without any further act or conveyance of the Property the substitute, additional or successor trustee
shall become vested with the title, rights, remedies, powers and duties conferred upon Trustee herein and by Applicable
Law. .
Trustee shall not be liable if acting upon any notice, request, consent, demand, statement or other document
believed by Trustee to be correct. Trustee shall not be liable for any act or omission unless such act or omissicn is willful.

29, Acknowledgment of Waiver by Lender of Additional Collateral. Borrower acknowledges that Lender
waives all terms in any of Lender's loan documentation (whether existing now or created in the future) which (a) create
cross default; (b) provide for additional collateral; and/or (c) create personal liability for any Borrower (except in the

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event of actual fraud), for the Extension of Credit. This waiver includes, but is not limited to, any (a) guaranty; (b) cross
collateralization; (c) future indebtedness; (d) cross default; and/or (e) dragnet provisions in any loan documentation with
Lender.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.

[DO NOT SIGN IF THERE ARE BLANKS LEFT TO BE COMPLETED IN THIS DOCUMENT. THIS
DOCUMENT MUST BE EXECUTED AT THE OFFICE OF LENDER, AN ATTORNEY AT LAW OR A TITLE
COMPANY. YOU MUST RECEIVE A COPY OF THIS DOCUMENT AFTER YOU HAVE SIGNED IT,]

 

YOU MAY, WITHIN 3 DAYS AFTER CLOSING, RESCIND THIS EXTENSION OF CREDIT WITHOUT
PENALTY OR CHARGE,

 

 

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{Space Below This Line For Acknowledgment]

“7T.
STATE OF [L¥as
COUNTY OF Ta-nant

This instrument was acknowledged before me on kept 2lo, 20/7 _ by

Sal L. amet in

 

 

 

(name or names of person or persons acknowledging).
(Personalized Seal)

  

tara Pablie

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ELIZABETH CHEAD
Notary 1D # 11545893 Title of Officer )

My Commission Expires
April 8, 2079

 

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My Commission Expires: : g. f

Mortgage Loan Originator Kimber1li M Tester

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